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 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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10 AMAZON.COM, INC., a Delaware
   corporation; AMAZON.COM SERVICES LLC,                   No.
11 a Delaware limited liability company; and
   WORLD WRESTLING ENTERTAINMENT                           COMPLAINT FOR DAMAGES
12 INC., a Delaware corporation,                           AND EQUITABLE RELIEF
13                              Plaintiffs,
14          v.
15 MEHMOOD QAISER, an individual;
   SHAHEEN GUL, an individual; AMEN
16 QUALITY GOODS LLC, a New Jersey limited
   liability company, individually and collectively
17 doing business as JHOL, as well as individually
   and collectively doing business as
18 HOUSEOFSCOTLAND, an individual or entity
   doing business as HOUSEOFSCOTLAND; and
19 DOES 1-10,

20                              Defendants.
21

22                                       I.     INTRODUCTION
23          1.       This case involves the Defendants’ unlawful and expressly prohibited sale of
24 counterfeit and/or infringing World Wrestling Entertainment, Inc. (“WWE”) brand replica

25 championship title belts in the Amazon.com store (the “Amazon Store”). Amazon.com, Inc., and

26 Amazon.com Services LLC (collectively, “Amazon”) and WWE (collectively with Amazon,

27 “Plaintiffs”) jointly bring this lawsuit to permanently prevent and enjoin Defendants from

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 1 causing future harm to Amazon’s and WWE’s customers, reputations, and intellectual property

 2 (“IP”), and to hold Defendants accountable for their illegal actions.

 3          2.       Amazon owns and operates the Amazon Store and equivalent counterpart

 4 international stores and websites. Amazon’s stores offer products and services to customers in

 5 more than 100 countries around the globe. Some of the products are sold directly by Amazon,

 6 while others are sold by Amazon’s numerous third-party selling partners. The Amazon brand is

 7 one of the most well-recognized, valuable, and trusted brands in the world. To protect its

 8 customers and safeguard its reputation for trustworthiness, Amazon invests heavily in both time
 9 and resources to prevent counterfeit and infringing goods from being sold in its stores. In 2021

10 alone, Amazon invested over $900 million and employed more than 12,000 people to protect its

11 stores from fraud and abuse. Amazon stopped over 2.5 million suspected bad-actor selling

12 accounts before they published a single listing for sale.

13          3.       WWE is an integrated media organization and recognized leader in global

14 entertainment. WWE consists of a portfolio of businesses that create and deliver original content

15 52 weeks a year to a global audience and is committed to family-friendly entertainment on its

16 television programming, premium live events, digital media, and publishing platforms.

17          4.       WWE’s TV-PG programming can be seen in more than one billion homes

18 worldwide in 30 languages through world-class distribution partners including NBCUniversal,
19 FOX Sports, BT Sport, Sony India, Disney+ Hotstar, and Rogers. The award-winning WWE

20 Network includes all premium live events, scheduled programming, and a massive video-on-

21 demand library, and is currently available in more than 180 countries. In the United States,

22 NBCUniversal’s streaming service, Peacock, is the exclusive home to WWE Network.

23          5.       WWE also has a worldwide consumer products division. WWE’s direct-to-

24 consumer merchandise operation—which consists of a global network of WWE Shop e-

25 commerce sites and venue merchandising business—designs, sources, markets, and distributes

26 numerous WWE-branded products, such as apparel, accessories, toys, championship title belts,

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 1 and many other items. In the fourth quarter of 2021, WWE’s direct-to-consumer merchandise

 2 generated approximately $14M in sales.

 3          6.       WWE’s worldwide licensing program builds partnerships with companies around

 4 the globe to create products featuring WWE’s marks and logos, copyrighted works and

 5 characters in diverse categories, including toys, video games, apparel, housewares, collectibles,

 6 sporting goods, books, and more. WWE-licensed products, created by more than 100 licensees in

 7 more than 100 countries worldwide, are available at all major retailers, including Amazon. WWE

 8 is a nearly $1 billion global brand at retail annually.
 9          7.       WWE owns, manages, enforces, licenses, and maintains IP, including various

10 trademarks. Relevant to this Complaint, WWE owns the following registered trademarks

11 (“WWE Trademarks”).

12                     Mark                  Registration No. (International Classes)
13

14
                                        2,757,597 (IC 25)
15

16

17                                      2,765,751 (IC 28)
18
19
                                        2,799,228 (IC 18)
20

21

22                                      4,675,657 (IC 28)

23

24
                                        4,727,923 (IC 18)
25

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 1
                                       3,541,936 (IC 18)
 2

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                                       3,538,710 (IC 25)
 5

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 7
                                       3,489,357 (IC 28)
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 9

10                                     3,042,792 (IC 25)

11

12
                                       3,473,626 (IC 28)
13

14

15 True and correct copies of the registration certificates for the WWE Trademarks are attached as

16 Exhibit A.

17          8.       WWE further owns the following registered trademarks relevant to this Complaint
18 (“WWE Historic Trademarks”).
19
                       Mark                 Registration No. (International Classes)
20

21
                                       1,348,618 (IC 41)
22

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25                                     1,574,169 (IC 16)

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 1 True and correct copies of the registration certificates for the WWE Historic Trademarks are

 2 attached as Exhibit B.

 3         9.       WWE currently owns copyright registrations for original creative works

 4 including, but not limited to certain championship belt designs, and images, artwork, and

 5 packaging for its products. Each of those copyrights has been duly and properly registered with

 6 the United States Copyright Office. Relevant to this Complaint, WWE holds the following

 7 registered copyrights (“WWE Copyrights” or “Copyrights”).

 8
 9                       Copyright Title          Copyright Number

10               WWE Championship Spinner         VA 1-888-114

11                                                VA 1-939-754
                 WWE Championship Big Logo
12               (New Logo)

13                                                VA 1-888-133
                 WWE Smoking Skull World
14               Heavyweight Championship

15                                                VA 1-888-131
                 WWE Attitude Era World
16               Heavyweight Championship

17               WWE Logo                         VA 1-786-384
18
                 Historic Scratch Logo            VA 2-258-636
19

20               WWE Network Logo (color)         VA 1-902-842

21
                 WWE Network Logo (black &        VA 1-946-951
22               white)

23

24

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 1 True and correct copies of the copyright registrations for the WWE Copyrights are attached as

 2 Exhibit C. The below photo reflects the WWE Championship Spinner belt artistic work

 3 registered under Copyright Number VA 1-888-114, as depicted in the deposit provided to the

 4 U.S. Copyright Office:

 5

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10 The below photo reflects the WWE Championship Big Logo (New Logo) belt artistic work

11 registered under Copyright Number VA 1-939-754, as depicted in the deposit provided to the

12 U.S. Copyright Office:

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20 The below photo reflects the WWE Smoking Skull World Heavyweight Championship belt

21 artistic work registered under Copyright Number VA 1-888-133, as depicted in the deposit

22 provided to the U.S. Copyright Office:

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 1 The below photo reflects the WWE Attitude Era World Heavyweight Championship belt artistic

 2 work registered under Copyright Number VA 1-888-131, as depicted in the deposit provided to

 3 the U.S. Copyright Office:

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13 The below photo reflects the WWE Logo artistic work registered under Copyright Number VA

14 1-786-384, as depicted in the deposit provided to the U.S. Copyright Office:

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19

20 The below photo reflects the Historic Scratch Logo artistic work registered under Copyright

21 Number VA 2-258-636, as depicted in the deposit provided to the U.S. Copyright Office:

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 1 The below photo reflects the WWE Network Logo (color) artistic work registered under

 2 Copyright Number VA 1-902-842, as depicted in the deposit provided to the U.S. Copyright

 3 Office:

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11 The below photo reflects the WWE Network Logo (black & white) artistic work registered under

12 Copyright Number VA 1-946-951, as depicted in the deposit provided to the U.S. Copyright

13 Office:

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21           10.   From December 2019 through January 2022, Defendants advertised, marketed,
22 offered, and sold products in the Amazon Store that infringed the WWE Trademarks, the WWE

23 Historic Trademarks, and/or the WWE Copyrights.

24           11.   As a result of their illegal actions, Defendants have infringed and misused
25 WWE’s IP; breached their contract with Amazon; willfully deceived and harmed Amazon,

26 WWE, and their customers; compromised the integrity of the Amazon Store; and undermined the

27 trust that customers place in Amazon and WWE. Defendants’ illegal actions have caused

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 1 Amazon and WWE to expend significant resources to investigate and combat Defendants’

 2 wrongdoing and to bring this lawsuit to prevent Defendants from inflicting future harm to

 3 Amazon, WWE, and their customers.

 4                                           II.     PARTIES
 5          12.     Amazon.com, Inc. is a Delaware corporation with its principal place of business

 6 in Seattle, Washington. Amazon.com Services LLC is a Delaware company with its principal

 7 place of business in Seattle, Washington.

 8          13.     World Wrestling Entertainment, Inc. is a Delaware corporation with its principal

 9 place of business in Stamford, Connecticut.

10          14.     Defendants are a collection of individuals, both known and unknown, who

11 conspired and operated in concert with each other to engage in the scheme to infringe WWE’s IP

12 as alleged in this Complaint. Defendants are subject to liability for their wrongful conduct both

13 directly and under principles of secondary liability including, without limitation, respondeat

14 superior, vicarious liability, and/or contributory infringement.

15          15.     On information and belief, Defendant Mehmood Qaiser, d/b/a JHOL, d/b/a

16 HouseOfScotland, is an individual who resides in Middlesex County, New Jersey, who

17 personally participated in and/or had the right and ability to supervise, direct, and control the

18 wrongful conduct alleged in this Complaint, including the selling account in the Amazon Store
19 with the name “JHOL” (referred to herein as the or “JHOL Selling Account”) and, for at least a

20 period of time, the HouseOfScotland Selling Account (as defined below), and derived a direct

21 financial benefit from that wrongful conduct. On information and belief, Defendant Qaiser is the

22 spouse of Defendant Shaheen Gul.

23          16.     On information and belief, Defendant Shaheen Gul, d/b/a JHOL, d/b/a

24 HouseOfScotland, is an individual who resides in Middlesex County, New Jersey, who

25 personally participated in and/or had the right and ability to supervise, direct, and control the

26 wrongful conduct alleged in this Complaint, including the selling account in the Amazon Store

27 with the name “JHOL” (referred to herein as the or “JHOL Selling Account”) and, for at least a

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 1 period of time, the HouseOfScotland Selling Account (as defined below), and derived a direct

 2 financial benefit from that wrongful conduct. On information and belief, defendant Gul is the

 3 spouse of Defendant Qaiser.

 4          17.     On information and belief, Defendant Amen Quality Goods LLC, d/b/a JHOL,

 5 d/b/a HouseOfScotland, is a New Jersey limited liability company owned, operated, managed

 6 and controlled by the individual Defendants who are also its members and managers. On

 7 information and belief, Defendant Amen Quality Goods has the right and ability to supervise,

 8 direct, and control the wrongful conduct alleged in this Complaint, including the JHOL Selling
 9 Account and, for at least a period of time, the HouseOfScotland Selling Account (as defined

10 below), and derived a direct financial benefit from that wrongful conduct.

11          18.     On information and belief, at least one Defendant is an individual or entity doing

12 business as “HouseOfScotland” (referred to herein as the “HouseOfScotland Defendant” or

13 “HouseOfScotland Selling Account”). On further information and belief, the individual or entity

14 behind the HouseOfScotland Selling Account falsely represented their location as London,

15 England, and has registered additional false information with Amazon as part of a scheme to

16 mislead Plaintiffs. Hence, the true identity of the HouseOfScotland Defendant is presently

17 unknown. On further information and belief, the HouseOfScotland Defendant personally

18 participated in and/or had the right and ability to supervise, direct, and control the wrongful
19 conduct alleged in this Complaint, and derived a direct financial benefit from that wrongful

20 conduct.

21          19.     On information and belief, Defendants Does 1-10 (the “Doe Defendants”) are

22 individuals and entities working in active concert with each other, the named Defendants, and the

23 HouseOfScotland Defendant to knowingly and willfully manufacture, import, advertise, market,

24 offer, and sell counterfeit and/or infringing WWE products. The identities of the Doe Defendants

25 are presently unknown to Plaintiffs.

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 1                               III.    JURISDICTION AND VENUE

 2          20.     The Court has subject matter jurisdiction over WWE’s claims for trademark

 3 infringement and copyright infringement, and Amazon’s and WWE’s claims for false

 4 designation and false advertising, pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and

 5 1338(a). The Court has subject matter jurisdiction over Amazon’s breach of contract claim and

 6 Amazon’s and WWE’s claim for violation of the Washington Consumer Protection Act pursuant

 7 to 28 U.S.C. §§ 1332 and 1367.

 8          21.     The Court has personal jurisdiction over all Defendants because they transacted

 9 business and committed tortious acts within and directed to the State of Washington, and

10 Amazon’s and WWE’s claims arise from those activities. Defendants affirmatively undertook to

11 do business with Amazon, a corporation with its principal place of business in Washington, and

12 sold in the Amazon Store products that infringed the WWE Trademarks, the WWE Historic

13 Trademarks, and/or the WWE Copyrights, and which otherwise infringed WWE’s IP. Each of

14 the Defendants committed or facilitated the commission of tortious acts in Washington and has

15 wrongfully caused Amazon and WWE substantial injury in Washington.

16          22.     Further, Defendants have consented to the jurisdiction of this Court by agreeing to

17 the Amazon Services Business Solutions Agreement (“BSA”), which provides that the

18 “Governing Courts” for claims to enjoin infringement or misuse of IP rights and claims related to
19 the sale of infringing products in the Amazon Store are the state or federal courts located in King

20 County, Washington.

21          23.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

22 substantial part of the events giving rise to the claims occurred in the Western District of

23 Washington. Venue is also proper in this Court because Defendants consented to it under the

24 BSA.

25          24.     Pursuant to Local Civil Rule 3(e), intra-district assignment to the Seattle Division

26 is proper because the claims arose in this Division where (a) Amazon resides, (b) injuries giving

27 rise to suit occurred, and (c) Defendants directed their unlawful conduct.

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 1                                           IV.     FACTS

 2          A.     Amazon’s Efforts to Prevent the Sale of Infringing Goods

 3          25.    Amazon works hard to build and protect the reputation of its stores as a place

 4 where customers can conveniently select from a wide array of authentic goods and services at

 5 competitive prices. Amazon invests vast resources to ensure that when customers make

 6 purchases in Amazon’s stores—either directly from Amazon or from one of its millions of third-

 7 party sellers—customers receive authentic products made by the true manufacturer of those

 8 products.
 9          26.    A small number of bad actors seek to take advantage of the trust customers place

10 in Amazon by attempting to create Amazon selling accounts to advertise, market, offer, and sell

11 counterfeit or otherwise infringing products. These bad actors seek to misuse and infringe the

12 trademarks and other IP of the true manufacturers of those products to deceive Amazon and its

13 customers. This unlawful and expressly prohibited conduct undermines the trust that customers,

14 sellers, and manufacturers place in Amazon, and tarnishes Amazon’s brand and reputation,

15 thereby causing irreparable harm to Amazon.

16          27.    Amazon prohibits the sale of inauthentic and fraudulent products and is constantly

17 innovating on behalf of customers and working with brands, manufacturers, rights owners, and

18 others to improve the detection and prevention of counterfeit and infringing products from ever
19 being offered to customers in Amazon’s stores. Amazon employs dedicated teams of software

20 engineers, research scientists, program managers, and investigators to prevent counterfeit and

21 infringing products from being offered in Amazon’s stores. Amazon’s systems automatically and

22 continuously scan thousands of data points to detect and remove counterfeit and infringing

23 products from its stores and to terminate the selling accounts of bad actors before they can offer

24 such products. When Amazon identifies issues based on this feedback, it takes action to address

25 them. Amazon also uses this intelligence to improve its proactive prevention controls.

26          28.    In 2017, Amazon launched the Amazon Brand Registry, a free service to any

27 rights owner with a government-registered trademark, regardless of the brand’s relationship with

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 1 Amazon. Brand Registry delivers automated brand protections that use machine learning to

 2 predict infringement and proactively protect brands’ IP. Brand Registry also provides a powerful

 3 Report a Violation Tool that allows brands to search for and accurately report potentially

 4 infringing products using state‐of-the‐art image search technology. More than 700,000 brands,

 5 including WWE, are enrolled in Brand Registry, and those brands are finding and reporting 99%

 6 fewer suspected infringements since joining Brand Registry.

 7          29.    In 2018, Amazon launched Transparency, a product serialization service that

 8 effectively eliminates counterfeits for enrolled products. Brands enrolled in Transparency can
 9 apply a unique 2D code to every unit they manufacture, which allows Amazon, other retailers,

10 law enforcement, and customers to determine the authenticity of any Transparency-enabled

11 product, regardless of where the product was purchased. In 2021, over 23,000 brands were using

12 Transparency, enabling the protection of more than 750 million product units.

13          30.    In 2019, Amazon launched Project Zero, a program to empower brands to help

14 Amazon drive counterfeits to zero. Amazon’s Project Zero introduced a novel self-service

15 counterfeit removal tool that enables brands to remove counterfeit and infringing listings directly

16 from Amazon’s stores. This enables brands to take down counterfeit and infringing product

17 offerings on their own within minutes. In 2021, there were more than 20,000 brands enrolled in

18 Project Zero, including WWE. For every listing removed by a brand, Amazon’s automated
19 protections removed more than 1,000 listings through scaled technology and machine learning,

20 stopping those listings from appearing in Amazon’s stores.

21          31.    Amazon has robust seller verification processes, deploying industry-leading

22 technology to analyze hundreds of unique data points and robust processes to verify information

23 provided by potential sellers. In 2021, Amazon prevented over 2.5 million attempts to create new

24 selling accounts, stopping bad actors before they published a single product for sale. Amazon is

25 also constantly innovating on these tools and systems. For example, Amazon requires

26 prospective sellers to have one-on-one conversations with one of its team members to verify the

27 seller’s identity and documentation, further enhanced through verification of the seller’s physical

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 1 location and payment instruments. Amazon also leverages machine learning models that use

 2 hundreds of data points about the prospective account to detect risk, including relations to

 3 previously-enforced bad actors. These measures have made it more difficult for bad actors to

 4 hide.

 5          32.     Once a seller begins selling in Amazon’s stores, Amazon continues to monitor the

 6 selling account’s activities for risks. If Amazon identifies a bad actor, it closes that actor’s selling

 7 account, withholds funds disbursement, and investigates whether other accounts are involved in

 8 unlawful activities.
 9          33.     In addition to the measures discussed above, Amazon actively cooperates with

10 rights owners and law enforcement to identify and prosecute bad actors suspected of engaging in

11 illegal activity. Lawsuits like this one are integral components of Amazon’s efforts to combat

12 counterfeit and infringing products.

13          B.      WWE and Its IP Protection Efforts
14          34.     WWE goes to great lengths to protect consumers from counterfeit and infringing

15 products and is committed to leading efforts to combat such products. WWE’s robust and

16 aggressive IP enforcement program utilizes both internal and external resources to combat

17 counterfeit and infringing products online as well as in physical points of sale. This includes

18 trained internal staff who consistently monitor online retailer sites around the world for IP
19 infringements and counterfeit sellers. WWE also works with a number of third-party brand

20 protection service vendors on the detection and removal of product listings violating WWE’s IP

21 rights. In addition, for more than a decade WWE has worked with its own hologram partners

22 who provide security authentication products and services for WWE-licensed products sold

23 worldwide.

24          35.     When WWE is alerted to a suspected counterfeit or otherwise infringing product,

25 it promptly investigates the matter and takes appropriate action.

26          36.     WWE is currently enrolled in Amazon Brand Registry and Project Zero. WWE

27 used these tools to combat the infringing activity described in this Complaint.

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 1          C.     Defendants Created Amazon Selling Accounts and Agreed Not to Sell
                   Counterfeit or Infringing Goods
 2

 3          37.    Defendants controlled and operated the JHOL Selling Account and the
 4 HouseOfScotland Selling Account detailed in Section D below through which they sought to

 5 advertise, market, sell, and distribute counterfeit and/or infringing WWE products. In connection

 6 with these Selling Accounts, Defendants provided names, email addresses, and banking

 7 information for each account. On information and belief, Defendants took active steps to mislead

 8 Amazon and conceal their true location and identities by providing false information.
 9          38.    To become a third-party seller in the Amazon Store, sellers are required to agree
10 to the BSA, which governs the applicant’s access to and use of Amazon’s services and states

11 Amazon’s rules for selling in the Amazon Store. By entering into the BSA, each seller represents

12 and warrants that it “will comply with all applicable Laws in [the] performance of its obligations

13 and exercise of its rights” under the BSA. True and correct copies of the applicable versions of

14 the BSA, namely, the versions Defendants last agreed to when using Amazon’s services, are

15 attached as Exhibit D.

16          39.    Under the terms of the BSA, Amazon specifically identifies the sale of counterfeit
17 goods as “deceptive, fraudulent, or illegal activity” in violation of Amazon’s policies, reserving

18 the right to withhold payments and terminate the account of any seller who engages in such
19 conduct. Ex. B, ¶¶ 2-3. The BSA requires the seller to defend, indemnify and hold harmless

20 Amazon against any claims or losses arising from the seller’s “actual or alleged infringement of

21 any Intellectual Property Rights.” Id. ¶ 6.1.

22          40.    Additionally, the BSA incorporates, and sellers therefore agree to be bound by,
23 Amazon’s Anti-Counterfeiting Policy, the applicable version of which is attached as Exhibit E.

24 The Anti-Counterfeiting Policy expressly prohibits the sale of counterfeit and infringing goods in

25 the Amazon Store:

26                    The sale of counterfeit products is strictly prohibited.
27

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 1                    You may not sell any products that are not legal for sale, such as products that
                       have been illegally replicated, reproduced, or manufactured[.]
 2
                      You must provide records about the authenticity of your products if Amazon
 3                     requests that documentation[.]
 4                 Failure to abide by this policy may result in loss of selling privileges, funds being
                   withheld, destruction of inventory in our fulfilment centers, and other legal
 5                 consequences.
 6 Id.

 7         41.     Amazon’s Anti-Counterfeiting Policy further describes Amazon’s commitment to
 8 preventing the sale and distribution of counterfeit and infringing goods in the Amazon Store
 9 together with the consequences of doing so:

10                    Sell Only Authentic and Legal Products. It is your responsibility to source,
                       sell, and fulfill only authentic products that are legal for sale. Examples of
11                     prohibited products include:
12                     o Bootlegs, fakes, or pirated copies of products or content
13                     o Products that have been illegally replicated, reproduced, or manufactured
14                     o Products that infringe another party’s intellectual property rights
15                    Maintain and Provide Inventory Records. Amazon may request that you
                       provide documentation (such as invoices) showing the authenticity of your
16                     products or your authorization to list them for sale. You may remove pricing
                       information from these documents, but providing documents that have been
17                     edited in any other way or that are misleading is a violation of this policy and
                       will lead to enforcement against your account.
18
                      Consequences of Selling Inauthentic Products. If you sell inauthentic
19                     products, we may immediately suspend or terminate your Amazon selling
                       account (and any related accounts), destroy any inauthentic products in our
20                     fulfillment centers at your expense, and/or withhold payments to you.
21                    Amazon Takes Action to Protect Customers and Rights Owners. Amazon also
                       works with manufacturers, rights holders, content owners, vendors, and sellers
22                     to improve the ways we detect and prevent inauthentic products from reaching
                       our customers. As a result of our detection and enforcement activities,
23                     Amazon may:
24                     o Remove suspect listings.
25                     o Take legal action against parties who knowingly violate this policy and
                         harm our customers. In addition to criminal fines and imprisonment,
26                       sellers and suppliers of inauthentic products may face civil penalties
                         including the loss of any amounts received from the sale of inauthentic
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                            products, the damage or harm sustained by the rights holders, statutory
 1                          and other damages, and attorney’s fees.
 2                     Reporting Inauthentic Products. We stand behind the products sold on our site
                        with our A-to-z Guarantee, and we encourage rights owners who have product
 3                      authenticity concerns to notify us. We will promptly investigate and take all
                        appropriate actions to protect customers, sellers, and rights holders. You may
 4                      view counterfeit complaints on the Account Health page in Seller Central.
 5 Id.

 6          42.     When they registered as third-party sellers in the Amazon Store and established
 7 the JHOL Selling Account and HouseOfScotland Selling Account, Defendants agreed not to

 8 advertise, market, offer, sell, or distribute counterfeit or infringing products.
 9          D.      Test Purchase from HouseOfScotland Selling Account and Review of its
                    Amazon Store Listings, and Test Purchases from the JHOL Selling Account
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11          43.     From December 2019 to January 2022, Defendants advertised, marketed, offered,
12 and sold counterfeit and/or infringing WWE-branded products in the Amazon Store.

13          44.     At all times described herein, the HouseOfScotland Selling Account was
14 controlled and operated by the HouseOfScotland Defendant, the named Defendants, and, on

15 information and belief, other unknown parties.

16          45.     On October 27, 2021, Amazon conducted a test purchase from the
17 HouseOfScotland Selling Account for what was advertised as “WWE Adult Size World

18 Heavyweight Version 2 Replica Wrestling Belt.” Defendants shipped to Amazon investigators a
19 product that bore counterfeits of the WWE Trademarks. The product also included replications

20 of the materials protected by the WWE Copyrights. WWE examined the product and determined

21 it is counterfeit. A depiction comparing the counterfeit product supplied by Defendants with an

22 authentic version of the product follows:

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 1                       Figure 1: an image of the product sold by Defendants:

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12      Figure 2: an image of a genuine WWE World Heavyweight Champion Replica Title Belt:

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22         46.     On April 27, 2022, WWE reviewed images for the product listing “Edge Big Gold

23 World Heavy Weight Wrestling Champion Replica Belt Adult Size” through which the

24 HouseOfScotland Defendant offered for sale and sold products in the Amazon Store under the

25 HouseOfScotland Selling Account. Based on a review of those images, WWE was able to

26 determine that the product in the images displayed counterfeits of the WWE Trademarks. The

27 product also included replications of the materials protected by the WWE Copyrights. Figure 2

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 1 above shows a depiction of an authentic version of the product, and an image of the counterfeit

 2 product uploaded to the Amazon store and used by Defendants follows:

 3        Figure 3: an image from the product listing page of the product sold by Defendants:

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11          47.    On April 27, 2022, WWE reviewed images for the product listing “Ray’s

12 Undertaker The Phenom Wrestling Champion with Wood Case Replica Belt, Adult Size”

13 through which the HouseOfScotland Defendant offered for sale and sold products in the Amazon

14 Store under the HouseOfScotland Selling Account. Based on a review of those images, WWE

15 was able to determine that the product in the images displayed counterfeits of the WWE

16 Trademarks. The product shown in the images also included replications of the materials

17 protected by the WWE Copyrights. Specifically, at the top of the belt’s main plate above the

18 word UNDERTAKER and in the middle of each of the plates to the left and right of the main
19 plate, the belt displays identical copies of WWE’s WWE Network Logo trademark and WWE

20 Network Logo (black & white) copyright, which have trademark Registration Numbers

21 4,675,657 and 4,727,923, and Copyright Registration Number VA 1-946-951, respectively, as

22 provided in paragraphs 7 and 8 above. A depiction of the counterfeit product follows:

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 1        Figure 4: an image from the product listing page of the product sold by Defendants:

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 9         48.     On April 27, 2022, WWE reviewed images for the product listing “WWE John

10 Cena Raw Championship Adult Size Replica Spinner Belt” through which the HouseOfScotland

11 Defendant offered for sale and sold products in the Amazon Store under the HouseOfScotland

12 Selling Account. Based on a review of those images, WWE was able to determine that the

13 product in the images displayed counterfeits of the WWE Trademarks. The product shown in the

14 images also included replications of the materials protected by the WWE Copyrights. A

15 depiction comparing an image of the counterfeit product used by Defendants with an authentic

16 version of the product follows:

17        Figure 5: an image from the product listing page of the product sold by Defendants:

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 1           Figure 6: an image of a genuine WWE Championship Spinner Replica Title belt:

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 8          49.    On April 27, 2022, WWE reviewed images for the product listing “Regalia Craft
 9 Replica WWF Intercontinental Heavyweight Wrestling Champion Belt Adult Size, 2mm”

10 through which the HouseOfScotland Defendant offered for sale and sold products in the Amazon

11 Store under the HouseOfScotland Selling Account. Based on a review of those images, WWE

12 was able to determine that the product in the images bore logos that are confusingly similar to

13 the WWE Historic Trademarks. A depiction comparing an image of the infringing product used

14 by Defendants with an authentic version of the product follows:

15        Figure 7: an image from the product listing page of the product sold by Defendants:
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 1   Figure 8: an image of a genuine WWE Intercontinental Championship Replica Title belt:

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10          50.    On April 27, 2022, WWE reviewed images for the product listing “New WWE
11 Blue Universal Championship Belt Adult Size Wrestling Replica Title” through which the

12 HouseOfScotland Defendant offered for sale and sold products in the Amazon Store under the

13 HouseOfScotland Selling Account. Based on a review of those images, WWE was able to

14 determine that the product in the images displayed counterfeits of the WWE Trademarks. The

15 product shown in the images also included replications of the materials protected by the WWE

16 Copyrights. A depiction comparing an image of the counterfeit product used by Defendants with

17 an authentic version of the product follows:

18        Figure 9: an image from the product listing page of the product sold by Defendants:
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 1         Figure 10: an image of a genuine WWE Championship Big Logo (New Logo) belt:

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11         51.     On April 27, 2022, WWE reviewed images for the product listing “WWE Stone
12 Cold Smoking Skull Championship Belt Adult Replica Title Belts” through which the

13 HouseOfScotland Defendant offered for sale and sold products in the Amazon Store under the

14 HouseOfScotland Selling Account. Based on a review of those images, WWE was able to

15 determine that the product in the images bore logos that are confusingly similar to the WWE

16 Historic Trademarks. The product shown in the images also included replications of the materials

17 protected by the WWE Copyrights. A depiction comparing an image of the infringing product

18 used by Defendants with an authentic version of the product follows:
19       Figure 11: an image from the product listing page of the product sold by Defendants:
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 1    Figure 12: an image of a genuine WWE Smoking Skull World Heavyweight Championship belt:

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 9          52.    On April 27, 2022, WWE reviewed images for the product listing “Fandu Belts

10 2018 Imperfect Tag Team Heavyweight Championship Belt Wrestling Title 8MM Thick 7.7 lbs”

11 through which the HouseOfScotland Defendant offered for sale and sold products in the Amazon

12 Store under the HouseOfScotland Selling Account. Based on a review of those images, WWE

13 was able to determine that the product in the images bore logos that are confusingly similar to

14 the WWE Historic Trademarks. A depiction comparing an image of the infringing product used

15 by Defendants with an authentic version of the product follows:

16       Figure 13: an image from the product listing page of the product sold by Defendants:

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 1       Figure 14: an image of a genuine WWE Attitude Era World Tag Team Championship

 2                                        Replica Title belt:

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10          53.    At all times described herein, the JHOL Selling Account was controlled and

11 operated by the named Defendants and, on information and belief, other unknown parties.

12          54.    On October 25, 2021, Amazon conducted a test purchase from the JHOL Selling

13 Account for what was advertised as “Maxan Replica Big Eagle Wrestling Championship Title

14 Belt Adult Size.” Defendants shipped to Amazon investigators a product that bore logos that are

15 confusingly similar to the WWE Historic Trademarks. The product also included replications of

16 the materials protected by the WWE Copyrights. WWE examined the product and determined it

17 is inauthentic. A depiction comparing the product supplied by Defendants with an authentic

18 version of the product follows:
19                      Figure 15: an image of the product sold by Defendants:

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 1    Figure 16: an image of a genuine WWE Attitude Era World Heavyweight Championship belt:

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10         55.     On October 25, 2021, Amazon conducted a test purchase from the JHOL Selling

11 Account for a product that was advertised as “Stone Cold Smoking Skull Championship Belt

12 with Snake Skin,” and a product that was advertised as “Replica Smoking Skull World

13 Heavyweight Wrestling Championship Belt.” Defendants shipped to Amazon investigators two

14 products that bore logos that are confusingly similar to the WWE Historic Trademarks. The

15 products also included replications of the materials protected by the WWE Copyrights. WWE

16 examined the products and determined they are inauthentic. A depiction comparing the products

17 supplied by Defendants with an authentic version of the product follows:

18                      Figure 17: an image of the product sold by Defendants:

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 1                       Figure 18: an image of the product sold by Defendants:

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 8   Figure 18: an image of a genuine WWE Smoking Skull World Heavyweight Championship belt:
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17          E.     Amazon and WWE Shut Down Defendants’ Accounts
18          56.    By selling counterfeit and infringing WWE products, Defendants falsely
19 represented to Amazon and its customers that the products Defendants sold were genuine

20 products made by WWE. Defendants also knowingly and willfully used WWE’s IP in

21 connection with the advertisement, marketing, distribution, offering for sale, and sale of

22 counterfeit and infringing WWE products.

23          57.    At all times, Defendants knew they were prohibited from violating third-party IP
24 rights or any applicable laws while selling products in the Amazon Store. Defendants have

25 breached those terms of their agreement with Amazon, deceived Amazon’s customers and

26 Amazon, infringed and misused the IP rights of WWE, harmed the integrity of and customer

27 trust in the Amazon Store, and tarnished Amazon’s and WWE’s brands.

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 1           58.    Amazon, after receiving notice from WWE, verified Defendants’ unlawful sale of

 2 counterfeit and infringing WWE products and blocked the JHOL Selling Account and

 3 HouseOfScotland Selling Account. In doing so, Amazon exercised its rights under the BSA to

 4 protect customers and the reputations of Amazon and WWE.

 5                                           V.     CLAIMS
 6                                        FIRST CLAIM
                                   (by WWE against all Defendants)
 7                            Trademark Infringement – 15 U.S.C. § 1114
 8           59.    Plaintiff WWE incorporates by reference the allegations of the preceding

 9 paragraphs as though set forth herein.

10           60.    Defendants’ activities constitute infringement of the WWE Trademarks and

11 WWE Historic Trademarks as described in the paragraphs above.

12           61.    WWE advertises, markets, offers, and sells its products using the WWE

13 Trademarks and WWE Historic Trademarks described above and uses those trademarks to

14 distinguish its products from the products and related items of others in the same or related

15 fields.

16           62.    Because of WWE’s long, continuous, and exclusive use of the WWE Trademarks

17 and WWE Historic Trademarks identified in this Complaint, the trademarks have come to mean,

18 and are understood by customers and the public to signify, products from WWE.
19           63.    Defendants unlawfully advertised, marketed, offered, and sold products that

20 infringed the WWE Trademarks, or the WWE Historic Trademarks, with the intent and

21 likelihood of causing customer confusion, mistake, and deception as to the products’ source,

22 origin, and authenticity. Specifically, Defendants intended customers to believe, incorrectly, that

23 the products originated from, were affiliated with, and/or were authorized by WWE and likely

24 caused such erroneous customer beliefs.

25           64.    As a result of Defendants’ wrongful conduct, WWE is entitled to recover its

26 actual damages, Defendants’ profits attributable to the infringement, treble damages, and

27 attorney’s fees pursuant to 15 U.S.C. § 1117(a) and (b). Alternatively, WWE is entitled to

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 1 statutory damages under 15 U.S.C. § 1117(c) in connection with Defendants’ use of counterfeits

 2 of the WWE Trademarks.

 3          65.     WWE is further entitled to injunctive relief, including an order impounding all

 4 infringing products and promotional materials in Defendants’ possession. WWE has no adequate

 5 remedy at law for Defendants’ wrongful conduct because, among other things: (a) the WWE

 6 Trademarks and WWE Historic Trademarks are unique and valuable properties that have no

 7 readily determinable market value; (b) Defendants’ infringement constitutes harm to WWE and

 8 WWE’s reputation and goodwill such that WWE could not be made whole by any monetary
 9 award; (c) if Defendants’ wrongful conduct is allowed to continue, the public is likely to become

10 further confused, mistaken, or deceived as to the source, origin, or authenticity of the infringing

11 materials; and (d) Defendants’ wrongful conduct, and the resulting harm to WWE, is likely to be

12 continuing.

13                                        SECOND CLAIM
                                   (by WWE against all Defendants)
14                          Copyright Infringement – 17 U.S.C. § 501 et seq.
15          66.     Plaintiff WWE incorporates by reference the allegations of the preceding

16 paragraphs as though set forth herein.

17          67.     WWE is the sole owner of the copyrights associated with the original graphic and

18 pictorial images and artwork designed by WWE for its products.
19          68.     Defendants have infringed the WWE Copyrights by reproducing, distributing

20 copies of, publicly displaying, and/or creating derivative works of the copyrighted materials

21 protected by the WWE Copyrights without WWE’s authorization.

22          69.     Defendants’ conduct has been deliberate and willful within the meaning of 17

23 U.S.C. § 504.

24          70.     Defendants have committed, and continue to commit, acts constituting

25 infringement of the WWE Copyrights.

26          71.     Defendants derive a financial benefit directly attributable to the infringement of

27 WWE’s Copyrights.

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 1          72.       As a result of Defendants’ wrongful conduct, WWE is entitled to recover its

 2 actual damages and Defendants’ profits attributable to the infringement. Alternatively, WWE is

 3 entitled to statutory damages under 17 U.S.C. § 504(c).

 4          73.       The award of statutory damages should be enhanced in accordance with 17 U.S.C.

 5 § 504(c)(2).

 6          74.       WWE is further entitled to its attorney’s fees and full costs pursuant to 17 U.S.C.

 7 § 505.

 8          75.       In addition, WWE is entitled to injunctive relief, including an order impounding

 9 all infringing materials. WWE has no adequate remedy at law for Defendants’ wrongful conduct

10 because, among other things: (a) WWE’s Copyrights and the works they protect are unique and

11 valuable property that have no readily determinable market value; (b) Defendants’ infringement

12 harms WWE such that WWE could not be made whole by any monetary award; and (c)

13 Defendants’ wrongful conduct, and the resulting harm to WWE, is continuing.

14                                           THIRD CLAIM
                                     (by WWE against all Defendants)
15                False Designation of Origin and False Advertising – 15 U.S.C. § 1125(a)
16          76.       Plaintiff WWE incorporates by reference the allegations of the preceding

17 paragraphs as though set forth herein.

18          77.       WWE owns the WWE Trademarks and WWE Historic Trademarks, and

19 advertises, markets, offers, and sells its products using the trademarks described above and uses

20 the trademarks to distinguish its products from the products and related items of others in the

21 same or related fields.

22          78.       Because of WWE’s long, continuous, and exclusive use of the WWE Trademarks

23 and WWE Historic Trademarks, they have come to mean, and are understood by customers, end

24 users, and the public, to signify products from WWE.

25          79.       Defendants’ wrongful conduct includes the infringement of the WWE

26 Trademarks and WWE Historic Trademarks in connection with Defendants’ commercial

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 1 advertising or promotion, and offering for sale and sale, of counterfeit and/or infringing WWE

 2 products in interstate commerce.

 3          80.    In advertising, marketing, offering, and selling products bearing unauthorized

 4 depictions of the WWE Trademarks or confusingly similar logos to the WWE Historic

 5 Trademarks, Defendants have used, and on information and belief continue to use, depictions of

 6 or confusingly similar logos to the trademarks referenced above to compete unfairly with WWE

 7 and to deceive customers. Upon information and belief, Defendants’ wrongful conduct misleads

 8 and confuses customers and the public as to the origin and authenticity of the goods and services
 9 advertised, marketed, offered, or sold in connection with the WWE Trademarks and WWE

10 Historic Trademarks and wrongfully trades upon WWE’s goodwill and business reputation.

11          81.    Defendants’ conduct constitutes (a) false designation of origin, (b) false or

12 misleading description, and (c) false or misleading representation that products originate from or

13 are authorized by WWE, all in violation of 15 U.S.C. § 1125(a)(1)(A).

14          82.    Defendants’ conduct also constitutes willful false statements in connection with

15 goods and/or services distributed in interstate commerce in violation of 15 U.S.C.

16 § 1125(a)(1)(B).

17          83.    WWE is entitled to an injunction against Defendants, their officers, agents,

18 representatives, servants, employees, successors, and assigns, and all other persons in active
19 concert or participation with them, as set forth in the Prayer for Relief below. Defendants’ acts

20 have caused irreparable injury to WWE that, on information and belief, is continuing. An award

21 of monetary damages cannot fully compensate WWE for its injuries, and WWE lacks an

22 adequate remedy at law.

23          84.    WWE is further entitled to recover Defendants’ profits, WWE’s damages for its

24 losses, and WWE’s costs to investigate and remediate Defendants’ conduct and bring this action,

25 including its attorney’s fees, in an amount to be determined. WWE is also entitled to the trebling

26 of any damages award as allowed by law.

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 1                                          FOURTH CLAIM
                                    (by Amazon against all Defendants)
 2                False Designation of Origin and False Advertising – 15 U.S.C. § 1125(a)
 3          85.       Plaintiff Amazon incorporates by reference the allegations of the preceding

 4 paragraphs as though set forth herein.

 5          86.       Amazon’s reputation for trustworthiness is at the heart of its relationship with

 6 customers. Defendants’ actions in selling counterfeit and/or infringing products pose a threat to

 7 Amazon’s reputation because they undermine and jeopardize customer trust in the Amazon

 8 Store.
 9          87.       Specifically, Defendants deceived Amazon and its customers about the

10 authenticity of the products they were advertising, marketing, offering, and selling, in direct and

11 willful violation of the BSA and Amazon’s Anti-Counterfeiting Policies. Defendants’ deceptive

12 acts were material to Amazon’s decision to allow Defendants to sell their products in the

13 Amazon Store because Amazon would not have allowed Defendants to do so but for their

14 deceptive acts.

15          88.       In advertising, marketing, offering, and selling counterfeit and/or infringing

16 WWE products in the Amazon Store, Defendants made false and misleading statements of fact

17 about the origin, sponsorship, or approval of those products in violation of 15 U.S.C. §

18 1125(a)(1)(A).
19          89.       Defendants’ acts also constitute willful false statements in connection with goods

20 and/or services distributed in interstate commerce in violation of 15 U.S.C. § 1125(a)(1)(B).

21          90.       As described above, Defendants, through their illegal acts, have willfully

22 deceived Amazon and its customers, jeopardized the trust that customers place in the Amazon

23 Store, tarnished Amazon’s brand and reputation, and harmed Amazon and its customers.

24 Defendants’ misconduct has also caused Amazon to expend significant resources to investigate

25 and combat Defendants’ wrongdoing and to bring this lawsuit to prevent Defendants from

26 causing further harm to Amazon and its customers. Defendants’ illegal acts have caused

27 irreparable injury to Amazon and, on information and belief, that injury is ongoing at least to the

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 1 extent that Defendants continue to establish seller accounts under different or false identities. An

 2 award of monetary damages alone cannot fully compensate Amazon for its injuries, and thus

 3 Amazon lacks an adequate remedy at law.

 4          91.     Amazon is entitled to an injunction against Defendants, their officers, agents,

 5 representatives, servants, employees, successors and assigns, and all other persons in active

 6 concert or participation with them, as set forth in the Prayer for Relief below.

 7          92.     With regards to Defendants’ activities involving the sale of counterfeit products,

 8 Amazon is further entitled to recover Amazon’s damages for its losses and Amazon’s costs to
 9 investigate and remediate Defendants’ conduct and bring this action, including its attorney’s

10 fees, in an amount to be determined.

11                                      FIFTH CLAIM
                           (by WWE and Amazon against all Defendants)
12           Violation of Washington Consumer Protection Act, RCW 19.86.010, et seq.
13          93.     Plaintiffs incorporate by reference the allegations of the preceding paragraphs as

14 though set forth herein.

15          94.     Defendants’ advertising, marketing, offering, distribution, and sale of counterfeit

16 and/or infringing WWE products constitute an unfair method of competition and unfair and

17 deceptive acts or practices in the conduct of trade or commerce, in violation of RCW 19.86.020.

18          95.     Defendants’ advertising, marketing, offering, distribution, and sale of counterfeit

19 and/or infringing WWE products harm the public interest by deceiving customers about the

20 authenticity, origins, and sponsorship of the products.

21          96.     Defendants’ advertising, marketing, offering, distribution, and sale of counterfeit

22 and/or infringing WWE products directly and proximately cause harm to and tarnish Plaintiffs’

23 reputations and brands, and damage their business and property interests and rights.

24          97.     Accordingly, Plaintiffs seek to enjoin further violations of RCW 19.86.020 and

25 recover their attorneys’ fees and costs. WWE further seeks to recover from Defendants its actual

26 damages, trebled, and Amazon further seeks to recover from Defendants its actual damages,

27 trebled, with regards to Defendants’ activities involving the sale of counterfeit products.

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     COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF - 33                                Seattle, WA 98104-1640
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 1                                          SIXTH CLAIM
                            (by Amazon.com Services LLC against all Defendants)
 2                                         Breach of Contract
 3          98.     Plaintiff Amazon incorporates by reference the allegations of the preceding

 4 paragraphs as though set forth herein.

 5          99.     Defendants established Amazon Selling Accounts and entered into Amazon’s

 6 BSA, a binding and enforceable contract between Defendants and Amazon. Defendants also

 7 contractually agreed to be bound by the Anti-Counterfeiting Policy and other policies as

 8 maintained on the Amazon seller website.
 9          100.    Amazon performed all obligations required of it under the terms of the contract

10 with Defendants or was excused from doing so.

11          101.    Defendants’ sale and distribution of counterfeit WWE products materially

12 breached the BSA and the Anti-Counterfeiting Policy in numerous ways. Among other things,

13 Defendants’ conduct constitutes infringement and misuse of the IP rights of WWE.

14          102.    Defendants’ breaches have caused significant harm to Amazon, and Amazon is

15 entitled to damages in an amount to be determined at trial.

16                                    VI.     PRAYER FOR RELIEF
17          WHEREFORE, Plaintiffs respectfully pray for the following relief:

18          A.      That the Court issue an order permanently enjoining Defendants, their officers,

19 agents, representatives, servants, employees, successors, and assigns, and all others in active

20 concert or participation with them, from:

21                  (i)      selling products in Amazon’s stores;

22                  (ii)     selling products to Amazon or any affiliate;

23                  (iii)    opening or attempting to open any Amazon selling accounts;

24                  (iv)     manufacturing, distributing, offering to sell, or selling any product using

25                           WWE’s brand or WWE’s Trademarks or Copyrights, or which otherwise

26                           infringes WWE’s IP, on any platform or in any medium; and

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 1                 (v)     assisting, aiding or abetting any other person or business entity in

 2                         engaging or performing any of the activities referred to in subparagraphs

 3                         (i) through (iv) above;

 4          B.     That the Court enter judgment in Plaintiffs’ favor on all claims brought by them;

 5          C.     That the Court enter an order pursuant to 15 U.S.C. § 1116 and/or 17 U.S.C. §

 6 503 impounding and permitting destruction of all products that infringe the WWE Trademarks,

 7 WWE Historic Trademarks, and/or WWE Copyrights or that otherwise infringe WWE’s IP, and

 8 any related materials, including business records and materials used to reproduce any infringing
 9 products, in Defendants’ possession or under their control;

10          D.     That the Court enter an order requiring Defendants to provide Plaintiffs a full and

11 complete accounting of all amounts due and owing to Plaintiffs as a result of Defendants’

12 unlawful activities;

13          E.     That Defendants be required to pay all general, special, and actual damages that

14 Plaintiffs have sustained, or will sustain as a consequence of Defendants’ breaches and unlawful

15 acts, or WWE’s statutory damages, and that WWE’s damages be enhanced, doubled, or trebled

16 as provided for by 15 U.S.C. § 1117(b), 17 U.S.C. § 504(c), RCW 19.86.020, or otherwise

17 allowed by law, and that Amazon’s damages related to Defendants’ activities involving the sale

18 of counterfeit products be enhanced, doubled, or trebled as provided for by 15 U.S.C. § 1117(b),
19 RCW 19.86.020, or otherwise allowed by law;

20          F.     That Defendants be ordered to pay the maximum amount of prejudgment interest

21 authorized by law;

22          G.     That Defendants be required to pay the costs of this action and Plaintiffs’

23 reasonable attorney’s fees incurred in prosecuting this action, as provided for by 15 U.S.C.

24 § 1117, 17 U.S.C. § 505, RCW 19.86.020, or otherwise allowed by law;

25

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 1          H.     That the Court enter an order requiring that identified financial institutions

 2 restrain and transfer to Plaintiffs all amounts arising from Defendants’ unlawful activities as set

 3 forth in this lawsuit, up to a total amount necessary to satisfy monetary judgment in this case;

 4 and

 5          I.     That the Court grant Plaintiffs such other, further, and additional relief as the

 6 Court deems just and equitable.

 7          DATED this 30th day of August, 2022.

 8                                                    DAVIS WRIGHT TREMAINE LLP
                                                      Attorneys for Plaintiffs
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